Case 3:17-cv-00072-NKM-JCH Document 1307 Filed 10/23/21 Page 1 of 3 Pageid#: 21575




                           K
                           KOOL
                              LEEN
                                 NIIC
                                    CHHL
                                       LAAW
                                          WOOF
                                             FFFIIC
                                                  CEE
                  9435 Waterstone Blvd. Suite 140 Cincinnati, OH 45249
                     (513) 444-2150 – Fax (513) 297-6065-cell (513) 324-0905-JEK318@gmail.com
      ________________________________________________________________________


      October 23, 2021



      Via ECF

      RE: Sines et al. v. Kessler et al. 3:17-cv-72

      Dear Judge Moon,

              Defendants Kessler, Damigo, and Identity Evropa (“Defendants”) write to express
      their objection to plaintiffs’ letters suggesting severance of defendant Cantwell. Plaintiffs
      have spent much of the last several months filing pleadings urging the Court to deny Mr.
      Cantwell a continuance. As grounds plaintiffs stated :

             “In Cantwell’s “Motion to Amend Discovery, Pretrial,
             and Trial Schedules (inc. Doc 991) and to Extend Filing Deadlines” (ECF 1099),
             Cantwell asks the Court – five weeks before trial – to “reconsider its prior
             construction of his timely motion to sanction the Plaintiffs” by continuing the trial
             date and other deadlines because he was delayed in accessing certain discovery
             and case materials while incarcerated. ECF 1099 at 1-3. The Court has considered
             and rejected Cantwell’s motion for sanctions and there is no basis for the Court to
             reconsider, see ECF 951 at 2. This Court has also held numerous conferences and
             issued several orders regarding trial dates and scheduling in this action. E.g., ECF
             461; ECF 597; ECF 874; ECF 965; ECF 991. Dozens of lawyers, parties, and
             witnesses have made substantial logistical and financial commitments in reliance
             on the October 25 trial date and this eleventh hour request for a continuance from
             a single defendant is baseless.” ECF 1108 at p.2

              Plaintiffs also noted, at ECF 1108 and 1195, that much of the discovery Cantwell
      complains of not having access to is prohibited to him as a pro se litigant pursuant to the
      case confidentiality order (ECF 167). Plaintiffs have further represented to the Court, at
      ECF 1194, 1212, and 1217, that the testimony Cantwell intends to elicit from third party
      witnesses is inadmissible in various grounds. Moreover, Mr. Cantwell is a necessary
      party to this litigation. See In re Apple iPhone Antitrust Litig., 874 F. Supp. 2d 889, 899
      (ND Cal 2012) (explaining that a party is a necessary party where a court must evaluate
      the conduct of a co-conspirator to properly consider a conspiracy plaintiff’s claims.)
Case 3:17-cv-00072-NKM-JCH Document 1307 Filed 10/23/21 Page 2 of 3 Pageid#: 21576




             The Court has been aware of Mr. Cantwell’s objections since at least April 2021.
      The plaintiffs have been opposing Cantwell and not caring about his allegations of
      procedural or substative rights for at least that long. See ECF 945 filed April 26, 2021.
      Defendants object to the Court flip flopping on its Cantwell rulings, at the mere letter
      based request of the plaintiffs, less than 48 hours before trial. The defendants have
      invested considerable time and expense into preparing a defense strategy that assumes the
      presence of Mr. Cantwell as a party defendant at trial.

              Defendants suggest to the Court that a middle way is possible, whereby the
      plaintiffs are not allowed to dump their Cantwell problem onto the defense, and
      Cantwell’s objection can be substantially alleviated. Defendants respectfully suggest that
      Mr. Cantwell will be fairly treated if he is permitted to introduce exhibits that are relevant
      without regard to whether or not he timely included them on an exhibit list. Defendants
      further observe that Mr. Cantwell’s objection based on “I don’t know what is in the box
      next to me” is a red herring. The plaintiffs do not have to produce rebuttal exhibits and
      the relevant remainder of their list has been well known to Cantwell since before the case
      was even filed (Discord posts, Cantwell’s own internet broadcasts and communications
      with other defendants, etc.)

             Defendants respectfully urge the Court not to sever Mr. Cantwell from this case.



                                                     Respectfully,

                                                     s/_____________________
                                                     James E. Kolenich



                                CERTIFICATE OF SERVICE


      ECF participants via the Court’s CM/ECF system. Non participants were served as
      follows;


      Richard Spencer
      richardbspencer@icloud.com
      richardbspencer@gmail.com

      Christopher Cantwell Christopher Cantwell - Inmate: 00991-509
      Central Virginia Regional Jail
      13021 James Madison Hwy.
      Orange, VA 22960
Case 3:17-cv-00072-NKM-JCH Document 1307 Filed 10/23/21 Page 3 of 3 Pageid#: 21577




      Vanguard America
      c/o Dillon Hopper
      dillon_hopper@protonmail.com
      Robert “Azzmador” Ray
      azzmador@gmail.com

      Elliott Kline a/k/a Eli Mosley
      eli.f.mosley@gmail.com
      deplorabletruth@gmail.com
      eli.r.kline@gmail.com


                                              __s/_________________
                                              James Kolenich
